     Case 3:22-cv-00116-PDW-ARS Document 1-60 Filed 07/05/22 Page 1 of 5




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA

MOREHOUSE ENTERPRISES, LLC                )
d/b/a BRIDGE CITY ORDNANCE, ELIEZER       )
JIMENEZ, GUN OWNERS OF AMERICA, INC., )
and GUN OWNERS FOUNDATION,                )
                                          )                   Case No. __________________
       Plaintiffs,                        )
                                          )
               v.                         )
                                          )
BUREAU OF ALCOHOL, TOBACCO,               )
FIREARMS AND EXPLOSIVES; UNITED           )
STATES DEPARTMENT OF JUSTICE; and         )
GARY M. RESTAINO AS THE ACTING            )
DIRECTOR OF ATF,                          )
                                          )
       Defendants.                        )
                                          )
__________________________________________)


                             AFFIDAVIT OF ELIEZER JIMENEZ



   1. My name is Eliezer Jimenez. I am an adult male resident of Grand Forks, in Grand Forks

County, North Dakota. I am a citizen of the United States of America, and a member of Gun

Owners of America, Inc.

   2. I am not a prohibited person, can lawfully purchase and possess firearms under federal and

state law, and there is no prohibition on my manufacturing my own firearms for personal use. I

possess a valid and unexpired North Dakota concealed carry permit.

   3. I have read the Final Rule, and understand that it will significantly impact and negatively

affect myself and my activities in the future, with respect to the lawful exercise of my right to keep

and bear arms.




                                             Page 1 of 5
                                           Exhibit "60"
     Case 3:22-cv-00116-PDW-ARS Document 1-60 Filed 07/05/22 Page 2 of 5




   4. For example, in the past I have personally manufactured my own privately made firearms,

specifically handguns. But for the Final Rule, I plan to and would like the opportunity to

manufacture firearms again in the future.

   5. Prior to the Final Rule’s implementation, I would research what type of firearm I would

like to make, and then I would order unregulated parts in order to manufacture my own firearm.

   6. Depending on what type of firearm I wanted to manufacture, I would order my parts either

from one retailer, or from more than one retailer, in order to acquire all the needed components.

   7. Now, the Final Rule makes vague threats of criminal liability with respect to such activities,

potentially applying to those who, like me, order unregulated firearm parts and manufacture their

own firearms. For instance, the Final Rule discusses “structured transactions” and “conspiracy”

with regard to acquiring parts that are wholly unregulated at the federal level. These unclear threats

that gun owners somehow might incur criminal liability when purchasing the unregulated parts

from one dealer or from multiple dealers with which to lawfully manufacture personal firearms

chills my protected constitutional right to keep and bear arms.

   8. Since I am not a prohibited person, there is no prohibition on me manufacturing my own

firearms for personal use, or on my acquiring any and all unregulated parts to do so.

   9. I wish to continue manufacturing my own firearms, as I have done in the past, free from

the new, unlawful, and unconstitutional restrictions contained in the Final Rule.

   10. I am also interested in having firearms that I manufacture professionally coated by someone

that specializes in either Cerakoting or applying other similar finishes to firearms. However, it is

my understanding that, when the Final Rule is implemented, the FFL I take my privately made

firearm to would be required to log my firearm onto its books, and thereafter required to engrave




                                             Page 2 of 5
     Case 3:22-cv-00116-PDW-ARS Document 1-60 Filed 07/05/22 Page 3 of 5




its FFL number and a serial number upon my firearm. It is my understanding that I would be

required to bear the cost associated with this service.

   11. I do not wisht to have my privately made firearms serialized or marked with government

mandated information, as that FFL did not manufacture my firearm.

   12. I do not believe I should be required to serialize my personally manufactured firearms, nor

does federal law require I do so. Indeed, like many law-abiding American gun owners, I value my

privacy, and do not need the government (specifically, the ATF) gathering data on my private,

intrastate activities, or otherwise looking over my shoulder when I, a law-abiding person, engage

in lawful activity that is not restricted or prohibited by any federal statute and, indeed, is

specifically protected by the Constitution.

   13. Further, it does not make sense to require a serial number on a firearm that I made myself,

as there are many firearms in circulation that are not required to be serialized under federal law or

even by the Final Rule.

   14. For instance, a firearm manufactured prior to 1968 is not required to have a serial number,

and is not required even under the Final Rule to be engraved with a serial number – even if taken

to an FFL to be painted, repaired, or cleaned. This does not make any sense to me and makes it

seem as if the ATF is targeting hobbyists and enthusiasts such as myself, in an attempt to make it

more difficult for law-abiding gun owners such as myself to manufacture homemade firearms.

   15. I am aware that if I were to purchase a firearm through a retail sales channel, I would be

required to fill out forms with my personal information on them, submit myself to an intrusive

federal background check, and submit to the FFL’s recordkeeping of my firearm. Whereas

existing law requires the dealer from whom I make my purchase to keep those records for only 20

years, the Final Rule mandates that my personal information related to the exercise of



                                              Page 3 of 5
     Case 3:22-cv-00116-PDW-ARS Document 1-60 Filed 07/05/22 Page 4 of 5




constitutional rights be maintained in perpetuity by the dealer, who would have to make those

forms and records available to government agents upon request, and transfer those forms and

records to the government upon discontinuation of business.

   16. It is my right as an American citizen to make my own firearms free from government

interference and control.    However, the Final Rule seeks to infringe on my rights and, if

implemented, will cause me irreparable harm.

   17. In addition, I also possess firearms lawfully registered under the National Firearms Act

(“NFA”).    For me to obtain an NFA item, I must be photographed, fingerprinted, have a

background check performed, and pay a $200 tax, all in order to obtain government preclearance

permitting me to exercise a constitutional right.

   18. Notwithstanding that it should be unconstitutional for the government to tax the exercise

an enumerated constitutional right, I also routinely have to wait many months to be “cleared” by

the government to exercise that right and take possession of my firearm.

   19. Because I enjoy making my own firearms, I recently wanted to manufacture my own

suppressor, which must go through the same NFA process of government pre-clearance and paying

the tax, which I am prepared to do.

   20. I even began the process of preparing to submit an ATF Form 1 in order to receive

permission to manufacture my own suppressor.

   21. However, after getting my photographs and fingerprints ready, and after starting the

preparation of the proper forms to apply to the ATF, I began hearing that the ATF was denying

Form 1 applications, claiming that the applicants may be in violation of the law.

   22. As soon as I heard this, I immediately ceased the application process because there is no

reason to apply for a transfer knowing that would be denied.



                                             Page 4 of 5
     Case 3:22-cv-00116-PDW-ARS Document 1-60 Filed 07/05/22 Page 5 of 5




   23. Thereafter, I started reading that ATF was demanding that individuals send pictures of the

parts they would use to build their Form 1 suppressor.

   24. This made no sense to me, as I had planned on waiting to receive ATF approval before

purchasing parts and constructing my Form 1 suppressor. Indeed, that was my understanding of

the process ATF had instructed Form 1 applicants to undertake.

   25. Now, it seemed that ATF was instructing Form 1 applicants (i) to violate the law, (ii) to

send ATF proof of that violation, and only then (iii) would the ATF approve a Form 1.

   26. Based on these actions by ATF, I halted my Form 1 application process, and did not apply

for or manufacture my own Form 1 suppressor as I had wished.

   27. It is my understanding that the Final Rule now enacts ATF’s position on Form 1

suppressors into law, meaning I will not be able to engage in this lawful activity, even if I do so in

full compliance with the NFA’s provisions enacted by Congress.

       I, Eliezer Jimenez, certify under penalty of perjury that the foregoing is true and correct.




    7/2/2022
   ______________________                                     ___________________________
   DATE                                                       ELIEZER JIMENEZ




                                             Page 5 of 5
